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              EXHIBIT 19
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                                              restrictions
                                              on tech
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                                              complicate
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                                              Photo: Mario Tama/Getty Images




                                              New export controls on technologies
                                              that Beijing deems sensitive are
                                              threatening to derail efforts by
                                              American companies to acquire
                                              TikTok's U.S. operations from its
                                              Chinese parent company ByteDance,
                                              the Wall Street Journal reports.

                                              Driving the news: The regulations
                                              were unveiled on Friday and prevent
                                              "technology based on data analysis
                                              for personalized information
                                              recommendation services" — which
                                              would likely apply to TikTok's AI
                                              content-recommendation engine —
                                              from being exported without a
                                              license, according to the New York
                                              Times.

                                                   On Saturday, the Chinese state-
                                                   owned Xinhua News Agency
                                                   published commentary from a
                                                   trade professor and government

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                                                   adviser suggesting that
                                                   ByteDance "seriously and
                                                   cautiously" consider whether to
                                                   suspend TikTok negotiations after
                                                   reviewing the new rules.

                                                   The state-owned English-
                                                   language newspaper Global Times
                                                   published a similar story quoting
                                                   Chinese experts as saying the
                                                   restrictions could help ByteDance
                                                   "prevent its core algorithms used
                                                   in video-sharing app TikTok from
                                                   falling into US companies' hands."

                                              The state of play: Microsoft and
                                              Walmart have teamed up on a bid to
                                              buy TikTok ahead of a Sept. 15
                                              deadline that the Trump
                                              administration has imposed before
                                              the Chinese-owned app is banned on
                                              national-security grounds. Oracle is
                                              also reported to be in negotiations
                                              with ByteDance.

                                              Between the lines: "If Beijing blocks
                                              the sale of TikTok, it would
                                              effectively be calling the Trump
                                              administration’s bluff, forcing the
                                              U.S. government to actually go
                                              through with restricting the app and
                                              potentially incurring the wrath of its
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                                              legions of influencers and fans," the
                                              Times notes.




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